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                                                                                   03-CV-2018-901138.00
                                                                                    CIRCUIT COURT OF
                                                                             MONTGOMERY COUNTY, ALABAMA
                                                                               TIFFANY B. MCCORD,CLERK
                                IN THE CIRCUIT COURT OF
                             MONTGOMERY COUNTY, ALABAMA

JACQUELINE F. MCLAIN,                           )

       Plaintiff,                               )
                                                       Civil Action Number
vs.                                             )
                                                          CV-
J.C. PENNEY CORPORATION,INC.;                   )
J.C. PENNEY COMPANY,INC.;
J.C. PENNEY PROPERTIES, INC., and               )
fictitious Defendants A, B, C, & D, being
those persons, firms, corporations,             )
partnerships or other entities, residents of
the State of Alabama, and thcir officers,       )
agents, or employees were charged with the
responsibility of maintaining and insuring      )
thc safety of the premises at the J.C. Penney
store located in Montgomery County,             )
Alabama, at the Eastdale Mall, including
on the premises,                                )

        Defendants.                             )

                                            COMPLAINT

        1.     Plaintiff, Jacqueline F. McLain, is over the age of nineteen ycars and is a resident

citizen of the State of Alabama.

        2.      Dcfendant J.C. Penney Corporation, Inc., is a corporation authorized to do business

in the State of Alabama, and does business in Montgomery County, Alabama

        3.     Defendant J.C. Penney Company, Inc., is a corporation authorized to do business in

thc State of Alabama, and does business in Montgomery County, Alabama.

       4.      Defendant J.C. Penney Properties, Inc., is a corporation authorized to do business in

the State of Alabama, and does business in Montgomcry County, Alabama.

        5.     At all material tirnes herein complained of, Fictitious Defendants A, B, C, & D, are

thosc persons, firms, corporations, partnership or entities, who werc residents of the State of
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Alabama, and their officers, agcnts, or employees were charged with thc responsibility of

maintaining and insuring thc safety of the prcmises at the J.C. Penney store located in Montgomery

County, Alabama, at the Eastdale Mall, including on the premises. At all times thc Defendants A,

B, C,& D were acting within the purpose, line, and scope of their agency or employment with the

Defendants. All acts and conduct herein alleged on the part of said Defendants A, B, C, & D, were

calculated to and/or did benefit the Defendants, and were known to, authorized, and/or ratitied by

said Defendants. The true names of said individuals or entities A, B, C, & D, are prescntly

unknown to the Plaintiffs, who therefore sues such Defendants by fictitious names, but will amend

thcir Complaint whcn the true names of said Defendants are ascertained. Thc use of the word

"Defendant" or "Defendants" herein includes without limitation, both the names and fictitious

Defendants named herein.

       6.       On or about the 16th day of June, 2016, Plaintiff, Jacqueline F. McLain, while an

invitee, was upon the premises of the Defendants in Montgomery County, Alabama, and was

walking on a common property on the prcmises owned and managcd by Defendants. At the same

time and place the floor had not been cleared of water or some other liquid that had spillcd onto the

floor. The arca was wet, eausing Plaintiff to slip and fall, causing her scvere injuries.

        7.      At the time of Plaintiffs fall, the employer of Defendants at the register was

overheard saying "1 meant to clean that up". Defendants, by and through its agent employee. was

aware of the defect or danger and failed to correct it.

       8.       At said time and placc, Defendants had ownership and control over the premises

located in Montgomery County, Alabama, at thc Eastdale Mall.

       9.       Asa result of the failure of Defendants to properly maintain its premises and

common areas, Plaintiff sustained severe and serious injuries to her person, including but not

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limited to, injuries to her back, side and knee, and was caused to undergo knee surgery, anxiety and

other serious and personal injurics.

          10.    As a result of the injuries, Plaintiff has incurred damages including medical

expenses and lost wages. She has and will probably continue to suffer great pain, discomfort,

inconvenicnce, embarrassment, and mental anguish and will be deprived of ordinary enjoyment of

life. Her overall strength and health have been greatly iMpaired.

                                       COUNT 1-NEGLIGENCE

          1 I.   Plaintiff adopts by refcrcnce and realleges each and every allegation contained ih

each of the foregoing paragraphs of this complaint, and incorporates the same as if fully set out

herein.

          12.    Plaintiff fall was the proximate result of the Defendants negligence. Defendants

owed Plaintiff a duty to operate and maintain its premises in a reasonably safe condition.

Defendants were negligent by failing to keep said premises in a reasonably safe environment.

          13.    As a proximate cause of Defendants' said negligence, Plaintiff was caused to suffer

the following injuries and damages: neck injuries, back injuries, knee injuries, cervical and lumbar

spine injuries, and othcrwise have been made sick, sore, and lamc; Plaintiff has incurred expenses

for medicine and medical treatthent and doctor's and hospital fees and will continue to do so in the

future; she has suffered and will continue to suffer lost wages and income; Plaintiff has suffered

pain and suffering from said injuries and will continue to experience pain and suffering; Plaintiff

suffered mental anguish and emotional distress and will continue to do so as a result of the acts of

Defendants.




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          WHEREFORE, Plaintiff demand judgment against the Defendants for compensatory

damages in such an amount that a jury may award and punitive damages in an amount that a jury

may deem fair and just, in addition to attorney's fees, interest, costs, and othcr, further, and

different relief that she may be entiiled to.

                                     COUNT IL-WANTONNESS

          14.   Plaintiff adopts by reference and realleges each and every allegation contained in

cach of the forcgoing paragraphs of this complaint, and incorporatcs thc samc as if fully set out

herein.

          15.   Defendants conduct, by and through its agent employee, was wanton in that they

allowed a Iiquid to remain on the floor, after it was discovered, for an extended period of time

knowing that injury would result or should have known injury would result.

          16.    Each of the acts and omissions of Defendants as herein complained of were carried

on by Defendants with a reckless or conscious disregard of the rights or safety of others, including

Plaintiff.

          17.    As a result of said wantonness of Defendants, Plaintiff was caused to suffer the

following injuries and damages: neck injuries, back injuries, knee injuries, cervical and lumbar

spinc injuries, and otherwise have been made sick, sore, and lame; Plaintiff has incurred expenses

for medicine and medical treatment and doctor's and hospital fees and will continue to do so in thc

future; she has suffered and will continue to suffcr lost wages and income; Plaintiff has suffered

pain and suffering from said injuries and will continue to experience pain and suffering; Plaintiff

suffered mental anguish and emotional distress and will continue to do so as a result of thc acts of

Defendants.




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          WHEREFORE, Plaintiff demand judgment against Defendant for compensatory damages

in such an amount that a jury may award and punitive damages in an amount that a jury may deem

fair and just, in addition to attorney's fees, interest, costs, and other, further, and different relief

that they may be entitled to.

                  COUNT III-EMOTIONAL DISTRESS & MENTAL ANGUISH

          18.   Plaintiff adopts by reference and realleges each and every allegation contained in

each of the foregoing paragraphs of this complaint, and incorporates the same as if fully set out

herein.

          19.    Defendants intentionally or recklessly caused the Plaintiff to suffer emotional

distress.

          20.    Defendants said actions towards Plaintiffs were so outrageous in character, and so

extreme in degree as to go beyond all possible bounds of decency and were atrocious and utterly

intolerable in a civilize socicty.

          21.    Defendants conduct proximatcly caused the Plaintiff emotional distress.

          22.    As a result of Defendants intentional, and reckless actions, and outrageous conduct,

Plaintiff was caused to suffer the following injurics and damages: neck injuries, back injuries, knee

injuries, cervical and lumbar spine injuries, and otherwisc have been made sick, sore, and lame;

Plaintiff has incurred expenses for medicine and medical treatment and doctor's and hospital fees

and will continue to do so in the future; she has suffered and will continue to suffer lost wages and

income; Plaintiff has suffered pain and suffering from said injuries and will continue to experience

pain and suffering; Plaintiff suffered mental anguish and emotional distress and will continue to do

so as a result of the acts of Defendants.

          23.    Plaintiff claims punitive damagcs of Defendants.

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        WHEREFORE,Plaintiff demands judgment against Defendants for compensatory damages

in such an amount that a jury may award and punitive damages in an amount that a jury may deem

fair and just, ih addition to attorney's fees, intcrest, costs, and other, further, and different relicf

that they may be entitled to.

                                                           /s/Patil D. Esco
                                                          ptan. D. ESCO (ESC001)
                                                          Attorney for Plaintiff

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     PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY ON ALL COUNTS AND
CLAIMS.


                                                          /s/ Paul D. Esco
                                                          PAUL D. ESCO




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